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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

IN RE:                                                               )   CASE NO.: 18-50274-LRC
                                                                     )
ANDREA LYNETTE WASHINGTON,                                           )   CHAPTER 13
                                                                     )
           DEBTOR.                                                   )   JUDGE LISA RITCHEY CRAIG
                                                                     )
-------------------------------------------------------------------- )

                                                                     )
 MELISSA J. DAVEY,                                                   )
 STANDING CHAPTER 13 TRUSTEE,                                        )
      Movant,                                                        )
                                                                     )
  v.                                                                 )   CONTESTED MATTER
                                                                     )
  ANDREA LYNETTE WASHINGTON,                                         )
             Respondent.                                             )
                                                                     )
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                       CHAPTER 13 TRUSTEE'S MOTION TO MODIFY PLAN,
                      OR IN THE ALTERNATIVE, MOTION TO DISMISS CASE

          Comes now Melissa J. Davey, Standing Chapter 13 Trustee, and files this Chapter 13
Trustee's Motion to Modify Plan, or in the Alternative, Motion to Dismiss Case, and respectfully
shows the Court the following:

                                                                    1.
          Debtor filed this case under Chapter 13 on January 06, 2018, and the Plan was confirmed
on August 01, 2018. This Plan currently provides for payments in the amount of $568.00 per
month, an applicable commitment period of sixty (60) months and a zero percent (0%) dividend
to be paid to unsecured creditors.
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                                                  2.
        The confirmed Plan also provides that tax refunds which Debtor is entitled to receive
during the applicable commitment period shall be remitted to Trustee for disbursement to
creditors under this Plan.
                                                  3.
        During this case, Trustee did not receive any federal income tax refunds for the years
2018 and 2019.
                                                  4.
        If Debtor received federal tax refunds and did not remit them to the Trustee, then Debtor
may be in material default of the terms of the confirmed Plan, and may have caused unreasonable
delay that is prejudicial to creditors.
                                                  5.
        Under 11 U.S.C. Sections 1329(a)(1), 1329(a)(2), 1329(b)(1) and 1325(a)(3), the Plan
should be modified and the base of the Plan should be increased in the amount of all refunds
Debtor should have contributed to this case. Debtor must provide tax returns for all years
referenced above to determine the proper amount of this adjustment.
                                                  6.
        In the alternative, if Debtor fails to provide the tax returns and/or to remit the required tax
refunds to the Trustee, then this case should be dismissed. 11 U.S.C. Section 1307(c).
        Wherefore, based on the foregoing, Trustee respectfully requests that the Court grant this
Motion and modify the Plan to increase the Plan base, or that the Court dismiss the case, and for
such other relief as the Court deems just and proper.
        Dated: August 31, 2022.
                                                   /s/
                                                   Mandy K. Campbell
                                                   GA Bar No. 142676
                                                   Attorney for Chapter 13 Trustee
                                                   233 Peachtree Street, NE, Suite 2250
                                                   Atlanta, GA 30303
                                                   Telephone: 678-510-1444
                                                   Fax:        678-510-1450
                                                   mail@13trusteeatlanta.com
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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

IN RE:                                                               )   CASE NO.: 18-50274-LRC
                                                                     )
ANDREA LYNETTE WASHINGTON,                                           )   CHAPTER 13
                                                                     )
           DEBTOR.                                                   )   JUDGE LISA RITCHEY CRAIG
                                                                     )
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                                                                     )
MELISSA J. DAVEY,                                                    )
STANDING CHAPTER 13 TRUSTEE,                                         )
     Movant,                                                         )
                                                                     )
v.                                                                   )   CONTESTED MATTER
                                                                     )
ANDREA LYNETTE WASHINGTON,                                           )
           Respondent.                                               )
                                                                     )
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                      NOTICE OF HEARING ON CHAPTER 13 TRUSTEE'S
                     MOTION TO MODIFY PLAN, OR IN THE ALTERNATIVE,
                                MOTION TO DISMISS CASE

       PLEASE TAKE NOTICE that Melissa J. Davey, Standing Chapter 13 Trustee, has filed
this Motion to Modify Plan, or in the Alternative, Motion to Dismiss Case and related papers
with the Court seeking an order modifying the plan or dismissing the case.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion to Dismiss at the following number : 833-568-8864;
access code: 161 346 1602 at 9:15 am on October 04, 2022, in the U.S Courthouse, Richard
B. Russell Building, 75 Ted Turner Drive S.W., Courtroom 1204, Atlanta, Georgia 30303-
3367.
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       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

        Your rights may be affected by the Court's ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want to Court
to grant the relief sought in these pleadings or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is 1340
U.S. Courthouse (and Richard B. Russell Federal Building), 75 Ted Turner Drive S.W.,
Atlanta, GA 30303-3367. You may also mail a copy of your response to the undersigned at the
address stated below.

       Dated: August 31, 2022.
                                                  /s/
                                                  Mandy K. Campbell
                                                  GA Bar No. 142676
                                                  Attorney for Chapter 13 Trustee
                                                  233 Peachtree Street, NE, Suite 2250
                                                  Atlanta, GA 30303
                                                  Telephone: 678-510-1444
                                                  Fax:        678-510-1450
                                                  mail@13trusteeatlanta.com
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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

IN RE:                                                               )   CASE NO.: 18-50274-LRC
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ANDREA LYNETTE WASHINGTON,                                           )   CHAPTER 13
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           DEBTOR.                                                   )   JUDGE LISA RITCHEY CRAIG
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MELISSA J. DAVEY,                                                    )
STANDING CHAPTER 13 TRUSTEE,                                         )
     Movant,                                                         )
                                                                     )
v.                                                                   )   CONTESTED MATTER
                                                                     )
ANDREA LYNETTE WASHINGTON,                                           )
           Respondent.                                               )
                                                                     )
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                                             CERTIFICATE OF SERVICE

    This is to certify that I have on this day electronically filed the foregoing Chapter 13
Trustee's Motion to Modify Plan, or in the Alternative, Motion to Dismiss Case and Notice of
Hearing to be served via United States First Class Mail with adequate postage prepaid on the
following parties at the address shown for each:


DEBTOR(S):

Andrea Lynette Washington
8928 Yarmouth Dr.
Jonesboro, GA 30238


       I further certify that I have on this day electronically filed the foregoing Chapter 13
Trustee's Motion to Modify Plan, or in the Alternative, Motion to Dismiss Case and Notice of
Hearing using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of
this document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:
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Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC


      Dated: August 31, 2022.
                                           /s/
                                           Mandy K. Campbell
                                           GA Bar No. 142676
                                           Attorney for Chapter 13 Trustee
                                           233 Peachtree Street, NE, Suite 2250
                                           Atlanta, GA 30303
                                           Telephone: 678-510-1444
                                           Fax:        678-510-1450
                                           mail@13trusteeatlanta.com
